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EXHIBIT D

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RESPONSE: Admit,

4, Admit that You never discussed the amount of Your Donation with the
Defendants or anyone affiliated with TIGHAR before making it.

RESPONSE: Deny. Mr. Mellon discussed the amount of the Donation with Mr.
Gillespie.

5. Admit that neither of the Defendants, nor anyone representing Defendants,
requested a specific Donation from You.

RESPONSE: Qualified denial, Mr. Melion and Defendants did not speak about specific
amounts of Mr. Mellon’s donation, but Defendants made clear the amounts of money they
needed for the expedition.

6. - Admit that You initially contacted Rie Gillespie about making a Donation to
TIGHAR’s NIKU VII expedition.

RESPONSE: Admit.

7, Admit that You were not solicited by Ric Gillespie or anyone with TIGHAR
before making Your Donation to TIGHAR, NOTE: For purposes of responding “solicitation”
means that contact regarding Your Donation to TIGHAR was initiated by Defendants.

RESPONSE: Qualified denial. TIGHAR made specific efforts to publicize its
expedition and its efforts to find the Harhart wreckage. Plaintiff's response to TIGHAR and
contact with Ric Gillespie was a direct result of those efforts.

8. Adinit that You and You alone are who made the decision to make Your Donation
to TIGHAR,

RESPONSE: Admit.

9, Admit that You and You alone made the decision about the size of Your Donation
to TIGHAR.

RESPONSE: Admit.

10, Admit that before You made Your Donation, You did not ask to see any
videotape or other recordings made recorded during the NIKU VI expedition.

RESPONSE: Admit.

11. Admit that before You made Your Donation, You did not ask to see any
Documentation or other materials from TIGHAR.

RESPONSE: Denied. Before making the donation TIGHAR provided a DVD of a
Discovery Channel show, a DVD titled “An Aerial Tour of Nikumaroro”, a copy of Ric
Gillespic’s book and a collector’s folio of the “The Harney Drawings” of Harhart’s Electra.

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12. Admit that before You made Your Donation, You did not see any videotape
recorded during the NIKU VI expedition.

RESPONSE: Admit.

13. Admit that before You made Your Donation, videotape of the NIKU VI expedition was
publicly available,

RESPONSE: Qualified denial. Plaintiff has no personal knowledge of whether
videotape from the NIKU VI expedition was made available to the public.

14. Admit that You have no conclusive, physical proof that actual Earhart Artifacts
are underwater near Nikumaroro.

RESPONSE: Denied, Mr. Mellon has film of underwater artifacts.

15. Admit that your belief that the Niku VI underwater footage depicts Earhart
Artifacts is based on your opinion, and/or the opinions of Your experts.

RESPONSE: Denied. Plaintiff's belief that the NIKU VI underwater footage depicts the
Earhart artifacts is based upon the fact that artifacts are shown in the footage.

16. Admit that the statements you allege were made by Mr. Gillespie in Paragraphs
21 and 33 of Your Complaint as to representations made by him were made by him in his
capacity as Executive Director of TIGHAR.

RESPONSE: Qualified denial. Representations made by Mr. Gillespie were made in his
in his individual capacity and in his capacity as director of TIGHAR,

17. Admit that in Your Complaint You do not make any fraud claim against Ric
Gillespie as an individual but instead as TIGHAR’s Executive Director.
RESPONSE: Denied, —

18. Admit that You do not make any negligent misrepresentation claim against Ric
Gillespie as an individual in Your Complaint but instead as TIGHAR’s Executive Director.

RESPONSE: Denied,

19. Admit that every allegation You have made against Ric Gillespie in Your
Complaint relate to him in his capacity as TIGHAR’s Executive Director.

RESPONSE: Denied.
20, Admit You wish to bankrupt TIGHAR.
RESPONSE: Denied.

21, Admit You want to acquire from TIGHAR its exploration, recovery,
preservation and other exclusive tights granted to TIGHAR by the Republic of Kiribati.

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RESPONSE: Denied.

22, Admit You had discussions with TIGHAR about Your Donation outside of the
state of Wyoming.

RESPONSE: Admit.

23, Admit that at no time from the date of your initial contact with TIGHAR on
March 22, 2012 until you made Your Donation on March 30, 2012 were you in the state of
Wyoming,

RESPONSE: Denied, Plaintiff was in the state of Wyoming March 22, 2012 and March
23, 2012,

24. Admit You have no Documents or Writings or Communications establishing that
from the conclusion of Niku VI until the date of Your Donation TIGHAR had discovered Earhart
Artifacts.

RESPONSE: Denied. Plaintiff has film from the Niku VI Expedition showing Earhart
Artifacts,

25. Admit You have no non-tangible evidence, Documents, Writings or
Communications establishing that TIGHAR ever found Earhart Artifacts.

RESPONSE: Objection, The request to admit is unduly vague in that it is unclear what
“non-tangible evidence” is. Without waiving its objection; the request for admission is denied.

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Timothy M. Stubson

26. Admit You have no Documents, Writings or Communications establishing that
TIGHAR knew it had discovered any Earhart Artifacts during Niku V1,

RESPONSE: Denied.

27. Admit that You have no Documents, Writings or Communications that TIGHAR
hid any findings from any expedition it has conducted.

RESPONSE: Qualified denial. Defendants hid photos from Dr. Cook of underwater
features that they had acquired.

28, Admit that You believe the NIKU VI underwater video footage depicts Earhart
Artifacts.

RESPONSE: Adinit.

29, - Admit TIGHAR is a non-profit corporation.

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RESPONSE; Admit,

30. Admit TIGHAR relies almost exclusively on donations to fund its expeditions.

RESPONSE: Qualified Denial. TIGHAR also apparently relies upon revenue from the
Discovery Channel as well as in-kind services such as those provided by Jeff Glickman and Pho-
Tek where TIGHAR provides certain promotional services to those providing services.

31. Admit You never asked Ric Gillespie whether TIGHAR found Earhart Artifacts.

RESPONSE: Admit.

32. Admit Ric Gillespie never explicitly told You that TIGHAR had not found
Earhart Artifacts,

RESPONSE: Denied. Mr. Gillespie specifically spoke of the purpose of the expeditions
which was fo discover Earhart Artifacts.

33, Admit You never asked Mr. Gillespie any specific questions about the findings
from the NIKU VI expedition.

RESPONSE: Admit.

34, Admit TIGHAR would realize more financial benefit from finding Earhart
Artifacts than from concealing discovery of Earhart Artifacts,

RESPONSE: Denied. TIGHAR is ultimately responsible for what financial benefits it
realizes from any of its activities.

35. Admit You never sought guidance from any expert or other individual before
making Your Donation to TIGHAR,

RESPONSE: Denied. Plaintiff sought guidance ftom Rie Gillespie who is the professed
expert in this area of exploration and discovery.

36. Admit You never asked any person to evaluate any TIGHAR materials before
making Your Donation to TIGHAR.

RESPONSE: Admit.

37, Admit TIGHAR has never recovered any Earhart Artifacts from below the surface
of the ocean.

RESPONSE: Denied. Plaintiff lacks personal knowledge of what TIGHAR has or has
not recovered fiom below the surface of the ocean,

38. Admit Defendants never made any false misrepresentations fo You regarding the
Earhart Search,

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RESPONSE: Denied.

39, Admit You have no evidence that the Discovery Channel believes Earhart
Artifacts have been filmed,

RESPONSE: Admit.

40. Admit You have no evidence that the Discovery Channel believes Earhart
Artifacts were discovered during NIKU VI or at any time prior to Your Donation.

RESPONSE: Admit.

41. Admit that You have no evidence that the Discovery Channel failed to disclose
any information regarding the search for Earhart Artifacts.

RESPONSE: Adinit.

42, Admit You made Your Donation to TIGHAR with no conditions other than the
expectation that You would accompany the 2012 expedition.

RESPONSE: Denied. Plaintiff did not condition his gift upon accompanying the 2012
expedition.

43, Admit You had no contract with TIGHAR regatding Your Donation.
RESPONSE: Admit.

44, Admit that TIGHAR never promised that it would locate Earhart Artifacts in
exchange for Your Donation.

RESPONSE: Admit.
45, Admit You had no written agreement with TIGHAR regatding Your Donation.
RESPONSE: Adinit,

46, Admit TIGHAR was not aware of Your interest in the Earhart search before You
contacted them.

RESPONSE: Denied. Plaintiff has no personal knowledge of what TIGHAR did ox did
not know before Plaintiff contacted TIGHAR,

47. Admit that TIGHAR’s underwater video footage from NIKU VI is copyrighted.

RESPONSE: Denied. Plaintiff has no personal knowledge of what action TIGHAR has
taken with respect to video footage.

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